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JS 44 (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Con

purpose of ti initiating the civil docket sheet.

hive K AINTIFFS

inson

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S, PLAINTIFF CASES)

(ec) Attorneys vs irm Name, Address, and Telephone Number)
Simon & Simon P

1818 Market Street, Suite 2000
Philadelphia, PA 19103

Bucks County PA

erence of the United States in September 1974, is required for the use of the Clerk of Court for the
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

OE ANTS utomobile Association

County of Residence of First Listed Defendant _Bexar County, Texas
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attomeys (If Known)

 

 

Il. BASIS OF JURISDICTION (Place an “X"' in One Box Only)

US. Government
Plaintiff

o1 (33 Federal Question

(U.S. Government Not a Party)

Ad Diversity
(Indicate Citizenship of Parties in Item ILD

2 US. Government
Defendant

 

in’ One Box oy

 

 

IV. NATURE OF SUIT (Place an
ONT

110 Insurance

a PERSONAL INJURY PERSONAL INJURY

O 120 Marine G 310 Airplane (7 365 Personal Injury -

01 130 Miller Act C315 Airplane Product Product Liability

G 140 Negotiable Instrument Liability C1 367 Health Care/

(I 150 Recovery of Overpayment |} 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury

© 151 Medicare Act (7 330 Federal Employers’ Product Liability

0) 152 Recovery of Defaulted Liability 1 368 Asbestos Personal
Student Loans OF 340 Marine Injury Product
(Excludes Veterans) 0 345 Marine Product Liability

O 153 Recovery of Overpayment Liability PERSONAL PROPERTY
of Veteran’s Benefits & 350 Motor Vehicle © 370 Other Fraud

1 160 Stockholders’ Suits G) 355 Motor Vehicle O 371 Truth in Lending

1 190 Other Contract Product Liability ( 380 Other Personal

G 195 Contract Product Liability |) 360 Other Personal Property Damage

GF 196 Franchise Injury © 385 Property Damage

} 362 Personal Injury - Product Liability

   

   

G 210 Land Condemnation a 440 Other Civil Rights Habeas Corpus:

O 220 Foreclosure O 441 Voting OD 463 Alien Detainee
O 230 Rent Lease & Ejectment C) 442 Employment 1 510 Motions to Vacate
O 240 Torts to Land © 443 Housing/ Sentence

G 530 General
( 535 Death Penalty

Accommodations
(3 445 Amer. w/Disabilities -

©) 245 Tort Product Liability
290 All Other Real Property

Employment Other:
0 446 Amer. w/Disabilities -| 540 Mandamus & Other
Other OC} 550 Civil Rights

C555 Prison Condition

OG 560 Civil Detainee -
Conditions of
Confinement

© 448 Education

 

 

 

  

 
   

Ii. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State {K1  G 1 Incorporated or Principal Place oO4 04
of Business In This State
Citizen of Another State © 2 © 2 Incorporated and Principal Place os 5
of Business In Another State
Citizen or Subject of a O 3 © 3. Foreign Nation o6 o6

Foreign Country

  
 

0 375 False Claims Act
GC 376 Qui Tam (31 USC

(3 422 Appeal 28 USC 158
©) 423 Withdrawal

0 625 ; Drug Related Seizure
of Property 21 USC 881

 

(3 690 Other 28 USC 157 372%a))
0 400 State Reapportionment

LC PROPERTY RICH © 410 Antitrust

0) 820 Copyrights O 430 Banks and Banking
G 830 Patent ©) 450 Commerce
(3 835 Patent - Abbreviated 1 460 Deportation
New Drug Application 170 470 Racketeer Influenced and

(} 840 Trademark Corrupt Organizations

CF 480 Consumer Credit
© 490 Cable/Sat TV

C} 861 HIA (1395ff)

© 710 Fair Labor Standards

Act © 862 Black Lung (923) C} 850 Securities/Commodities/
0 720 Labor/Management C3 863 DIWC/DIWW (405(g)) Exchange
Relations O 864 SSID Title XVI © 890 Other Statutory Actions

C} 740 Railway Labor Act

( 751 Family and Medical
Leave Act

© 790 Other Labor Litigation

G 791 Employee Retirement

CF 865 RSI (405(g))

O 891 Agricultural Acts

() 893 Environmental Matters

( 895 Freedom of Information
Act

O 896 Arbitration

    

0 870 Taxes (USS. Plaintiff

Income Security Act or Defendant) O 899 Administrative Procedure
O 871 IRS—Third Party Act/Review or Appeal of
26 USC 7609 Agency Decision
0 950 Constitutionality of
State Statutes

  

© 462 Naturalization Application
C1 465 Other Immigration
Actions

 

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

M1. Original 1} 2 Removed from C} 3. Remanded from 0 4 Reinstatedor O 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

28 U.S.C. section 1391(a)(1)(2)
Brief description of cause:
Underinsured Motor Vehicle Accident

() CHECK IF THIS IS A CLASS ACTION

VI. CAUSE OF ACTION

 

VU. REQUESTED IN

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

DEMAND $ CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes  CINo
VIII RELATED CASE(S)
IF ANY (See instructions): ce DOCKET NUMBER __ _
DATE LZ : OF ATTORNEY OF RECORD
moro et aR
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Myrtle Atkinson : CIVIL ACTION

United Services Automobile Association : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2, ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by

the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management — Cases that do not fall into any one of the other tracks. (x)

j- 30-2014 Chi Myrtle Atkinson

 

 

 

Date Attorney-at-law Attorney for
(215)467-4666 (267)639-9006 christophergreen@gosimon.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:19-cv-00453-JCJ Document1 Filed 01/31/19 Page 3 of 9

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM.

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff Myrtle Atkinson- 205 Pond Street, Apt 512 Bristol PA 19007

 

Address of Defendant: United Services Automobile Association- 9800 Fredericksburg Road, San Antonio TX 78288

 

Levittown PA

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | Nol /]
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No

numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No
case filed by the same individual?

I certify that, to my knowledge, the within case [J is / [2] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: i- F0-20\4 Choe 22 A2\I|

 

 

 

 

 

 

 

 

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

CIVIL: (Place a V in one category only)
A, Federal Question Cases: B. Diversity Jurisdiction Cases:
[.] 1. Indemnity Contract, Marine Contract, and All Other Contracts {1 1. Insurance Contract and Other Contracts
[] 2. FELA [] 2. Airplane Personal Injury
(1 3. Jones Act-Personal Injury [.] 3. Assault, Defamation
Cl] 4 Antitrust [] 4. Marine Personal Injury
H 5. Patent 5. Motor Vehicle Personal Injury

6. Labor-Management Relations ([] 6. Other Personal Injury (Please specify):
[} 7. Civil Rights [1 7. Products Liability
CJ 8. Habeas Corpus [] 8. Products Liability — Asbestos

9. Securities Act(s) Cases [.] 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
C1 Ul. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, Christopher Green counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought.
ry ea Z oN =3-
DATE: [-20-2.014 OS 32>%2))
Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Cy, 609 (52018)

 
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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

Myrtle Atkinson

205 Pond Street, Apt 512 :

Bristol, PA 19007 : #
Plaintiff

V.

United Services Automobile Association
9800 Fredericksburg Road
San Antonio, TX 78288

 

Defendant
COMPLAINT
PARTIES
1. Plaintiff, Myrtle Atkinson, is a resident of the Commonwealth of Pennsylvania,

residing at the address listed in the caption of this Complaint.

2. Upon information and belief, Defendant, United Services Automobile
Association, is a corporate entity authorized to conduct business in the State of Texas with a
business address listed in the caption of this complaint.

3. Defendant, United Services Automobile Association, was at all times material
hereto, an insurance company, duly authorized and licensed to practice its profession by the
State of Texas, and was engaged in the practice of providing insurance policies, including but
not limited to motor vehicle liability policies including underinsured and uninsured motorist

coverage.
Case 2:19-cv-00453-JCJ Document1 Filed 01/31/19 Page 5 of 9

JURISDICTION AND VENUE

4. This Court has jurisdiction over the parties and subject matter of this Civil
Action-Complaint in that the Plaintiff is a citizen of Pennsylvania and the Defendant, upon
information and belief is a corporate entity with its principal place of business in Texas and the
amount in controversy in this case, exclusive of interest and costs, exceeds the sum of $75,000.

5. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(a) (1) and (2) in
that this is a judicial district in which a substantial part of the events or omissions giving rise to
the claims asserted in this Complaint occurred in this judicial district.

FACTS

6. On or about October 6, 2017 at approximately 1:43 p.m., Plaintiff was the
passenger of a motor vehicle, which was traveling eastbound on New Fall Road, at or near the
Acme Supermarkets, in Levittown, PA.

7. At the same date and time, tortfeasor, Glenn Keiper, was the operator of a motor
vehicle which was traveling at or near the aforesaid intersection and/or location of the vehicle in
which Plaintiff was a passenger.

8. At or about the same date and time, tortfeasor’s vehicle was involved in a motor
vehicle collision with Plaintiffs vehicle.

9. The aforesaid motor vehicle collision was the direct result of the tortfeasor
negligently and/or carelessly operating his vehicle in such a manner so as to disregard traffic
patterns, and strike Plaintiffs vehicle.

10. The aforesaid motor vehicle collision was the result of the negligence and/or

carelessness of the tortfeasor and not the result of any action or failure to act by the Plaintiff.
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11. As a result of the accident, the Plaintiff suffered serious, severe and permanent
bodily injuries, including back and leg injuries, as set forth more fully below.
COUNT I
Myrtle Atkinson v. United Services Automobile Association
Underinsured Motorists Coverage

12. Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth
fully at length herein.

13. The negligence and/or carelessness of the tortfeasor, which was the direct and
sole cause of the aforesaid motor vehicle accident and the injuries and damages sustained by the
Plaintiff, consisted of, but are not limited to, the following:

a. Striking Plaintiffs vehicle;

b. Failing to yield the right-of-way;

c. Operating his vehicle into Plaintiff's lane of travel;

d. _ Failing to maintain proper distance between vehicles;

e. Operating said vehicle in a negligent and/or careless manner
without regard for the rights or safety of plaintiff or others;

f. Failing to have said vehicle under proper and adequate control;

g. Operating said vehicle at a dangerous and excessive rate of speed under
the circumstances;

h. Violation of the “assured clear distance ahead” rule;

i. Failure to keep a proper lookout;

j. Failure to apply brakes earlier to stop the vehicle without striking
Plaintiff's vehicle;

k. Being inattentive to his duties as an operator of a motor vehicle;
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q.

r.

Disregarding traffic lanes, patterns, and other devices;

Driving at a high rate of speed which was high and dangerous for
conditions;

Failing to remain continually alert while operating said vehicle;

Failing to perceive the highly apparent danger to others which the actions
and/or inactions posed;

Failing to give Plaintiff meaningful warning signs concerning the
impending collision;

Failing to exercise ordinary care to avoid a collision;

Failing to be highly vigilant and maintain sufficient control of said

vehicle and to bring it to a stop on the shortest possible notice;

S.

Operating said vehicle with disregard for the rights of Plaintiff, even
though he was aware or should have been aware of the presence of
Plaintiff and the threat of harm posed to her;

Continuing to operate the vehicle in a direction towards Plaintiff’s vehicle
when he saw, or in the exercise of reasonable diligence, should have seen,

that further operation in that direction would result in a collision;

u. Failing to operate said vehicle in compliance with the applicable laws and
ordinances of the Commonwealth of Pennsylvania pertaining to the
operation and control of motor vehicles;

14. As a direct and consequential result of the negligent and/or careless conduct of

the tortfeasor, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or
Case 2:19-cv-00453-JCJ Document1 Filed 01/31/19 Page 8 of 9

aggravation of pre-existing conditions, including back and leg injuries all to Plaintiff's great loss
and detriment.

15. As a result of these injuries, all of which are permanent in nature and all of
which are to Plaintiff's great financial detriment and loss, Plaintiff has in the past, is presently
and may in the future suffer great anguish, sickness and agony and will continue to suffer for an
indefinite time into the future.

16. As an additional result of the carelessness and/or negligence of defendants,
Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

17. As a further result of the aforesaid injuries, Plaintiff has in the past, is presently
and may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiffs
further loss and detriment.

18. | Upon information and belief, at the time of the aforementioned motor vehicle
collision, the aforesaid tortfeasor’s motor vehicle insurance policy and/or liability insurance
were insufficient to fully and adequately compensate Plaintiff for the injuries suffered in the
above set forth motor vehicle collision and/or other damages and expenses related thereto.

19. At the date and time of the aforementioned motor vehicle collision, Plaintiff, was
the owner and operator of a motor vehicle was covered by a policy of insurance issued by
Defendant, under Policy Number 034809397R71012, which included coverage for underinsured
motorist coverage applicable to Plaintiff.

20. Accordingly, Plaintiff asserts an Underinsured Motorist Claim against

Defendant.
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WHEREFORE, Plaintiff demands judgment in Plaintiff's favor and against defendant, in
an amount in excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other
relief this court deems necessary.

SIMON & SIMON, P.C.

  

Letie?
Christopher Green, Esquire
